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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


THU BANH and VI NGUYEN,
                                                              Case No. 1:17-cv-62
               Plaintiffs,
                                                              Hon. Ray Kent
vs.

NEW ORLEANS CRISPY CHICKEN AND
CHILI DOGS, a Michigan Limited Liability Company,
and ANDREW KERN SANG VAN LE,
an individual,

               Defendants.
                                     /

                                              ORDER

               On October 30, 2018, the Court ordered plaintiffs to file a motion for entry of

default judgment against defendant New Orleans Crispy Chicken and Chili Dogs, a Michigan

Limited Liability Company, by no later than November 14, 2018, and advised plaintiffs that if they

“fail to seek default judgment within that time frame, then New Orleans Crispy Chicken will be

dismissed for lack of prosecution.” See Order (ECF No. 62). Plaintiffs responded to the order by

filing a notice to voluntarily dismiss this defendant pursuant to Fed. R. Civ. P. 41(a)(1). See Notice

(ECF No. 63). A voluntary dismissal without a court order under Rule 41(a)(1) is available if it is

filed “before the opposing party serves either an answer or a motion for summary judgment.” See

Fed. R. Civ. P. 41(a)(1)(i). Here, defendant New Orleans Crispy Chicken filed an answer (ECF

No. 7). The default was entered at a later date because it failed to retain new counsel. For this

reason, a court order is required under Fed. R. Civ. P. 41(a)(2) (“Except as provided in Rule

41(a)(1), an action may be dismissed at the plaintiff’s request only by court order, on terms that

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the court considers proper”). Accordingly, upon due consideration, plaintiffs’ claims against

defendant New Orleans Crispy Chicken and Chili Dogs, a Michigan Limited Liability Company,

are DISMISSED without prejudice.

              IT IS SO ORDERED.


Dated: November 26, 2018                          /s/ Ray Kent
                                                  United States Magistrate Judge




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